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   1         Plaintiff Robert Briseño (“Plaintiff”), individually and on behalf of all others
   2 similarly situated, alleges the following upon personal knowledge as to his own
   3 acts and, as to all other allegations, upon information and belief, and investigation
   4 by counsel.
   5          NATURE OF ACTION AND SUMMARY OF ALLEGATIONS
   6         1.     Plaintiff brings this class action on behalf of himself and a class of
   7 persons who purchased any of the following cooking oils sold under the Wesson
   8 brand name: Canola Oil, Vegetable Oil, Corn Oil, and Best Blend (collectively
   9 referred to herein as “Wesson Oils”). Wesson is a brand owned, developed,
  10 marketed, and sold by defendant ConAgra Foods, Inc. (“ConAgra” or
  11 “Defendant”).
  12         2.     ConAgra labels its Wesson Oils as “100% Natural.”                   This
  13 representation is central to ConAgra’s marketing of Wesson Oils, and is displayed
  14 prominently on the product label itself, the Wesson website, and all Wesson Oils’
  15 advertisements.
  16         3.     But Wesson Oils are not “100% natural.” The oils are made from
  17 genetically modified plants (“GM”) or genetically modified organisms (“GMO”).
  18         4.     Monsanto Company, a global agricultural company that pioneered
  19 GM seeds, defines GMO on its website as food with “genetic makeup altered to
  20 exhibit traits that are not naturally theirs. In general, genes are taken (copied)
  21 from one organism that shows a desired trait and transferred into the genetic code
  22 of another organism.” Monsanto, http://www.monsanto.com/newsviews/Pages/
  23 glossary.aspx#g (last visited June 24, 2011) (emphasis added). As more fully
  24 alleged below, “unnatural” is a recognized defining characteristic of genetically
  25 modified foods.
  26
  27
  28
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   1         5.     The reasonable consumer assumes that “seeds created by swapping
   2 genetic material across species to exhibit traits not naturally theirs” are not “100%
   3 natural.” Wesson Oils’ advertising is very likely to deceive consumers.
   4         6.     Plaintiff was damaged, in an amount to be determined at trial, because
   5 he did not get the “100% natural” oil that was advertised and that he paid for.
   6         7.     Defendant’s violations of California law and wrongful conduct
   7 designed to mislead and deceive consumers into purchasing its product by labeling
   8 it as natural when it is made up of GM ingredients, violate California false
   9 advertising and unfair competition laws, California Business & Professions Code
  10 § 17500 and § 17200, and the Consumers Legal Remedies Act (the “CLRA”),
  11 California Civil Code § 1750, and constitute a breach of express warranty.
  12                            JURISDICTION AND VENUE
  13         8.     The Court has jurisdiction over the state law claims pursuant to 28
  14 U.S.C. § 1332(d), because there are at least 100 Class Members in the proposed
  15 Class, the combined claims of proposed Class Members exceed $5,000,000
  16 exclusive of interest and costs, and at least one Class Member is a citizen of a state
  17 other than Defendant’s state of citizenship.
  18         9.     ConAgra purposefully avails itself of the California consumer market
  19 and sells Wesson Oils in at least hundreds of locations within this District.
  20 ConAgra’s Wesson Oils are sold at thousands of retail locations throughout
  21 California and purchased by thousands of consumers in California every day,
  22 including many in this District.
  23         10.    Venue is proper pursuant to 28 U.S.C. § 1391(a) because a substantial
  24 part of the events giving rise to the claims asserted occurred in this District, and
  25 Plaintiff dealt with Defendant, who is located in and/or does business in this
  26 District. Venue is proper pursuant to 28 U.S.C. § 1391(c) because Defendant
  27 conducts substantial business in this District, has sufficient minimum contacts with
  28
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   1 this District, and otherwise purposely avails itself of the markets in this District,
   2 through the promotion, sale, and marketing of its products in this District.
   3                                    THE PARTIES
   4         11.    Plaintiff Robert Briseño (“Plaintiff”), is a consumer residing in
   5 Vallejo, California. Briseño regularly purchased Wesson Canola Oil for his own
   6 and his family’s consumption, most recently in May 2011. Plaintiff believed
   7 Defendant’s representation that Wesson Canola Oil was 100% natural. Plaintiff
   8 would not have purchased Wesson Canola Oil, but for Defendant’s misleading
   9 statements about the product being 100% natural. Plaintiff was injured in fact and
  10 lost money as a result of Defendant’s conduct of improperly describing Wesson
  11 Oils as “natural.” Plaintiff paid for a 100% natural product, but did not receive a
  12 product that was 100% natural. Plaintiff received a product that was genetically
  13 engineered in a laboratory, and had its genetic code artificially altered to exhibit
  14 not “natural” qualities.
  15         12.    Defendant ConAgra is a Delaware corporation located in Omaha,
  16 Nebraska. It markets and distributes Wesson Oils.
  17                             FACTUAL ALLEGATIONS
  18 ConAgra Advertises Wesson Oils As “100% Natural”
  19     13. ConAgra sells four types of widely used cooking and food preparation
  20 oils under the Wesson brand. All Wesson Oils are sold with a label on the front of
  21 the bottle that states prominently “100% Natural.”
  22         14.    In addition to appearing on the product label, “100% Natural” appears
  23 on Wesson Oils online and print advertisements. For example, the Wesson website
  24 describes the four oils as follows:
  25                (a)   “Pure Wesson 100% Natural Canola Oil is the most versatile
  26 type of vegetable oil and it provides the best nutritional balance of all popular
  27 cooking oils.” See Exhibit A.
  28
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   1                (b)   “Pure Wesson 100% Natural Oil is the perfect all-
   2 purpose cooking and baking vegetable oil.” See Exhibit B.
   3                (c)   “Pure Wesson 100% Natural Corn Oil is the best oil to ensure a
   4 cripsy [sic] coating on your fried foods while retaining moistness on the inside.”
   5 See Exhibit C.
   6                (d)   “Pure Wesson 100% Natural Best Blend Oil is highly versatile.
   7 Wesson Best Blend Oil is a perfect combination of two great oils [Canola oil and
   8 Soybean oil] that makes it just right for everything from grilling and frying to salad
   9 dressings.” See Exhibit D.
  10         15.    The “100% Natural” statement is, like much of the label on Wesson
  11 Oils, displayed in vibrant green. The “Wesson” name is haloed by the image of the
  12 sun, and the Canola Oil features a picture of a green heart. The Wesson Oils labels
  13 obviously are intended to evoke a natural, wholesome product.
  14         16.    The claim that Wesson Oils are “natural” is highly material to the
  15 average consumer, which is why ConAgra places “100% natural” on the front
  16 product label and Wesson Oils product advertisements.
  17 Wesson Oils Are From Genetically Modified Organisms
  18      17. Wesson Oils are derived from plants grown from GMO seeds that are
  19 engineered to, among other things, allow for greater yield and to be resistant to
  20 pesticides.
  21         18.    ConAgra, on the Conagra.com corporate site (but not on the Wesson
  22 site that consumers are more likely to visit), at the end of a pro-biotechnology
  23 piece, indirectly acknowledges that its Wesson Oils are genetically engineered.
  24 The page that displays this information requires numerous click-throughs to reach.1
  25   1
       To reach the page from the ConAgra.com home page, a consumer would have to
  26 scroll to the bottom of the page, and under the “our commitment” column select
     the “corporate responsibility” link from more than a dozen other links. After that,
  27 the consumer would have to select the “good for you” link, which is one of more
     than a dozen total links on that page. From there, the consumer would have to
  28 select the “biotechnology” link from among the more than a dozen links on that
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   1 The piece extols the benefits of biotechnology. In the last sentence of the last
   2 paragraph the letters “GMO” appear, without being defined, as follows:
   3         Biotechnology
   4         In the past two decades, biotechnology has been used to improve
   5         yield, nutrition, resistance to drought and insects, and other desirable
   6         qualities of several common food crops, including corn and soy. As
   7         consumers grow more conscious about the types of foods they put in
   8         their bodies, some have asked about the role of biotechnology in food
   9         production and health.
  10         As such, ConAgra Foods only purchases and uses ingredients that
  11         comply with the U.S. Department of Agriculture and Food and Drug
  12         Administration (FDA) regulations for food safety and nutrition. Both
  13         the U.S. Environmental Protection Agency and the FDA have
  14         concluded that biotech foods that are approved for human
  15         consumption are as safe and nutritious as other foods that are
  16         developed through more conventional methods.
  17         However, we understand the field of food biotechnology is constantly
  18         shifting as advancements are made in the world of science, and will
  19         continue to reevaluate our internal policies, relying heavily on
  20         evolving science, consumer and customer expectations, and regulatory
  21         decisions.
  22         Ultimately, consumers will decide what is acceptable in the
  23         marketplace based on the best science and public information
  24         available. We will continue to listen carefully to our customers and
  25         consumers on biotechnology and provide alternatives for those who
  26
  27 page. The navigation to this page is not intuitive or even logical. Plaintiff did not
     visit the ConAgra site.
  28
       CLASS ACTION COMPLAINT                      -5-      CASE NO.:
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    1         demand products without biotechnology ingredients. Two choices
    2         are our Lightlife brand, which is manufactured using non-GMO soy
    3         seeds, and our organic foods, which also do not use biotech
    4         ingredients.
    5 ConAgra, http://company.conagrafoods.com/phoenix.zhtml?c=202310&p=corp
    6 _consumers#FoodSafetyQuality (last visited June 24, 2011) (emphasis added).
    7         19.    Although ConAgra nobly says that “consumers will decide what is
    8 acceptable in the marketplace,” ConAgra’s Wesson Oils’ advertising robs
    9 consumers of the ability to make an informed decision because they are told that
   10 Wesson Oils are “100% Natural.” Further, reasonable consumers told that Wesson
   11 Oils are “100% Natural” have no reason to “demand products without
   12 biotechnology ingredients”—the “natural” designation represents to consumers
   13 that they are getting biotech-free food.
   14 Genetically Modified Organisms Are Not “100% Natural”
   15      20. Monsanto Company is one of the world’s biggest sellers of GMO
   16 seeds and an avid GMO-proponent. On its website, Monsanto defines GMO as
   17 follows:
   18         Genetically Modified Organisms (GMO) – Plants or animals that have
   19         had their genetic makeup altered to exhibit traits that are not
   20         naturally theirs.   In general, genes are taken (copied) from one
   21         organism that shows a desired trait and transferred into the genetic
   22         code of another organism.
   23 Monsanto, http://www.monsanto.com/newsviews/Pages/glossary.aspx#g (last
   24 visited June 24, 2011) (emphasis added).
   25         21.    The World Health Organization (“WHO”), which is the United
   26 Nations’ directing and coordinating authority for health, defines GMO as follows:
   27
   28
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    1         Genetically modified organisms (GMOs) can be defined as organisms
    2         in which the genetic material (DNA) has been altered in a way that
    3         does not occur naturally. The technology is often called “modern
    4         biotechnology” or “gene technology”, sometimes also “recombinant
    5         DNA technology” or “genetic engineering”.          It allows selected
    6         individual genes to be transferred from one organism into another,
    7         also between non-related species.
    8         Such methods are used to create GM plants—which are then used to grow
    9         GM food crops.
   10 WHO, http://www.who.int/foodsafety/publications/biotech/20questions/en/ (last
   11 visited June 27, 2011) (emphasis added).
   12         22.    Romer Labs, a company that provides diagnostic solutions to the
   13 agricultural industry, defines GMO as follows:
   14         Agriculturally important plants are often genetically modified by the
   15         insertion of DNA material from outside the organism into the plant's
   16         DNA sequence, allowing the plant to express novel traits that
   17         normally would not appear in nature, such as herbicide or insect
   18         resistance. Seed harvested from GMO plants will also contain these
   19         [sic] modification.
   20 Romer Labs, http://www.romerlabs.com/en/analytes/genetically-modified-
   21 organisms.html (last visited June 27, 2011) (emphasis added).
   22         23.    As demonstrated by the above definitions, genetically modified
   23 organisms are “created” artificially in a laboratory through genetic engineering.
   24 ConAgra’s Wesson Oils are not natural, much less “100% Natural.” Advertising
   25 Wesson Oils as natural is deceptive and likely to mislead the public.
   26
   27
   28
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    1                               CLASS ALLEGATIONS
    2         24.    Plaintiff brings this action on his own behalf and as a Class Action
    3 pursuant to Rule 23 of the Federal Rules of Civil Procedure. Plaintiff seeks
    4 certification of the following Class:
    5         All persons in the United States who have purchased Wesson Oils
    6         from June 27, 2007 through the final disposition of this and any and
    7         all related actions (the “Class Period”).
    8         25.    Plaintiff and the members of the Class are so numerous that joinder of
    9 all members individually, in one action or otherwise, is impractical, based on
   10 Defendant’s national marketing and advertising campaigns that target consumers
   11 across the country.
   12         26.    This action involves questions of law and fact common to Plaintiff
   13 and all members of the Class, which include the following:
   14                (a)    Whether Defendant violated California Business & Professions
   15 Code Section 17500;
   16                (b)    Whether Defendant violated California Business & Professions
   17 Code Section 17200;
   18                (c)    Whether Defendant violated the CLRA, California Civil Code
   19 Section 1750;
   20                (d)    Whether Defendant’s conduct constituted a breach of express
   21 warranty; and
   22                (e)    Whether Plaintiff and Class Members sustained damages
   23 resulting from Defendant’s conduct and, if so, the proper measure of damages,
   24 restitution, equitable, or other relief, and the amount and nature of such relief.
   25         27.    Plaintiff understands and is willing to undertake the responsibilities of
   26 acting in a representative capacity on behalf of the proposed Class. Plaintiff will
   27
   28
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    1 fairly and adequately protect the interests of the Class and has no interests adverse
    2 to, or which directly conflict with, the interests of the other members of the Class.
    3         28.    Plaintiff has engaged the services of counsel who are experienced in
    4 complex class litigation, who will adequately prosecute this action, and who will
    5 assert and protect the rights of and otherwise represent Plaintiff and the absent
    6 Class Members.
    7         29.    Plaintiff’s claims are typical of those of the absent Class Members
    8 because Plaintiff and the Class Members each sustained damages arising from
    9 Defendant’s wrongful conduct, as alleged more fully herein.
   10         30.    This action is brought under Rule 23 because Defendant has acted on
   11 grounds generally applicable to all members of the Class and/or because questions
   12 of law or fact common to Class Members predominate over any questions affecting
   13 only individual members.
   14         31.    Judicial determination of the common legal and factual issues
   15 essential to this case would be far more efficient and economical as a class action
   16 than piecemeal individual determinations.
   17         32.    Plaintiff knows of no difficulty that will be encountered in the
   18 management of this litigation that would preclude maintenance as a class action.
   19                                      COUNT I
              Violation of California Business & Professions Code § 17500 et seq.
   20
   21         33.    Plaintiff incorporates the above allegations by reference as though
   22 fully set forth herein.
   23
              34.    Plaintiff brings this claim individually and on behalf of the Class.
   24
              35.    Throughout the Class Period, Defendant engaged in a public
   25
        advertising and marketing campaign representing that Wesson Oils are “100%
   26
        Natural.”
   27
   28
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    1         36.    Wesson Oils are in fact made from genetically modified organisms
    2 that are not natural. Defendant’s advertisements and marketing representations
    3 are, therefore, misleading, untrue, and likely to deceive the public.
    4         37.    Defendant engaged in its advertising and marketing campaign with
    5 intent to directly induce customers to purchase Wesson Oils based on false claims.
    6         38.    In making and disseminating the statements alleged herein, Defendant
    7 knew or should have known that the statements were untrue or misleading.
    8         39.    Plaintiff believed Defendant’s representation that Wesson Oils were
    9 100% natural.        Plaintiff would not have purchased Wesson Oils, but for
   10 Defendant’s misleading statements about the product being 100% natural. Plaintiff
   11 was injured in fact and lost money as a result of Defendant’s conduct of
   12 improperly describing Wesson Oils as “natural.” Plaintiff paid for a 100% natural
   13 product, but did not receive a product that was 100% natural. Plaintiff received a
   14 product that was genetically engineered in a laboratory, and had its genetic code
   15 artificially altered to exhibit un-natural qualities.
   16         40.    Plaintiff and Class Members seek declaratory relief, restitution for
   17 monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits,
   18 injunctive relief, enjoining Defendant from continuing to disseminate its untrue
   19 and misleading statements, and other relief allowable under California Business &
   20 Professions Code Section 17535.
   21                                     COUNT II
              Violation of California Business & Professions Code § 17200 et seq.
   22
   23         41.    Plaintiff incorporates the above allegations by reference as though
   24 fully set forth herein.
   25
              42.    Plaintiff brings this claim individually and on behalf of the Class.
   26
              43.    The circumstances giving rise to Plaintiff’s allegations include
   27
        Defendant’s corporate policies regarding the sale and marketing of Wesson Oils.
   28
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    1         44.     By engaging in the acts and practices described above, Defendant
    2 committed one or more acts of “unfair competition” within the meaning of
    3 Business & Professions Code § 17200. “Unfair competition” is defined to include
    4 any “unlawful, unfair or fraudulent business act or practice and unfair, deceptive,
    5 untrue or misleading advertising and any act prohibited by [Business & Professions
    6 Code § 17500 et seq.].”
    7         45.     Defendant committed “unlawful” business acts or practices by, among
    8 other things, violating California Business & Professions Code § 17500.
    9         46.     Defendant committed “unfair” business acts or practices by, among
   10 other things:
   11                 (a)   engaging in conduct where the utility of such conduct, if any, is
   12 outweighed by the gravity of the consequences to Plaintiff and Class Members;
   13                 (b)   engaging in conduct that is immoral, unethical, oppressive,
   14 unscrupulous, or substantially injurious to Plaintiff and Class Members; and
   15                 (c)   engaging in conduct that undermines or violates the spirit or
   16 intent of the consumer protection laws alleged in this Complaint.
   17         47.     Defendant committed “fraudulent” business acts or practices by,
   18 among other things, engaging in conduct Defendant knew or should have known
   19 was likely to and did deceive the public, including Plaintiff and other Class
   20 Members.
   21         48.     As detailed above, Defendant’s unlawful, unfair, and/or fraudulent
   22 practices include making false and/or misleading representations that Wesson Oils
   23 is “100% natural.”
   24         49.     Plaintiff believed Defendant’s representation that Wesson Oils were
   25 100% natural.         Plaintiff would not have purchased Wesson Oils, but for
   26 Defendant’s misleading statements about the product being 100% natural. Plaintiff
   27 was injured in fact and lost money as a result of Defendant’s conduct of
   28
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    1 improperly describing Wesson Oils as “natural.” Plaintiff paid for a 100% natural
    2 product, but did not receive a product that was 100% natural. Plaintiff received a
    3 product that was genetically engineered in a laboratory, and had its genetic code
    4 artificially altered to exhibit qualities that are not natural.
    5         50.    Plaintiff and Class Members seek declaratory relief, restitution for
    6 monies wrongfully obtained, disgorgement of ill-gotten revenues and/or profits,
    7 and injunctive relief, and other relief allowable under California Business &
    8 Professions Code Section 17203, including, but not limited to, enjoining Defendant
    9 from continuing to engage in its unfair, unlawful and/or fraudulent conduct as
   10 alleged.
   11                                     COUNT III
                 Violation of the California Consumers Legal Remedies Act –
   12               Cal. Civ. Code § 1750 et seq. (Injunctive Relief Only)
   13         51.    Plaintiff hereby incorporates by reference the allegations contained in
   14 all of the preceding paragraphs of this complaint.
   15         52.    Plaintiff brings this claim individually and on behalf of the Class.
   16         53.    This cause of action is brought pursuant to the California Consumers
   17 Legal Remedies Act, Cal. Civ. Code § 1750 et seq. (the “CLRA”). This cause of
   18 action does not seek monetary damages at this point, but is limited solely to
   19 injunctive relief.     Plaintiff will amend this Class Action Complaint to seek
   20 damages in accordance with the CLRA after providing Defendant with notice
   21 pursuant to California Civil Code § 1782. 2
   22         54.    Defendant’s actions, representations, and conduct have violated, and
   23 continue to violate, the CLRA because they extend to transactions that are intended
   24 to result, or that have resulted, in the sale of goods to consumers.
   25
   26
        2
   27     A copy of Plaintiff’s notice and demand letter sent to Defendant is attached
        hereto as Exhibit E.
   28
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    1         55.    Plaintiff and all members of the Class are “consumers” as that term is
    2 defined by the CLRA in California Civil Code § 1761(d).
    3         56.    Defendant sold to Plaintiff and other Class members its Wesson Oils,
    4 which are “goods” within the meaning of California Civil Code § 1761(a).
    5         57.    By engaging in the actions, misrepresentations, and misconduct set
    6 forth in this Class Action Complaint, Defendant violated, and continues to violate,
    7 Civil Code § 1770(a)(5) by misrepresenting that Wesson Oils are natural and has
    8 particular qualities that it does not have, namely, that it is 100% natural when it is
    9 not.
   10         58.    By engaging in the actions, misrepresentations, and misconduct set
   11 forth in this complaint, Defendant violated, and continues to violate, Civil Code
   12 § 1770(a)(9), by advertising Wesson Oils with intent not to sell it as advertised.
   13         59.    By engaging in the actions, misrepresentations, and misconduct set
   14 forth in this complaint, Defendant violated, and continues to violate, § 1770(a)(16)
   15 by misrepresenting that a subject of a transaction has been supplied in accordance
   16 with a previous representation when it has not.
   17         60.    Defendant   violated   the   CLRA      by   representing   through    its
   18 advertisements Wesson Oils as described above when they knew, or should have
   19 known, that the representations and advertisements were unsubstantiated, false,
   20 and misleading.
   21         61.    Plaintiff believed Defendant’s representation that Wesson Oils were
   22 100% natural.        Plaintiff would not have purchased Wesson Oils, but for
   23 Defendant’s misleading statements about the products being 100% natural.
   24 Plaintiff was injured in fact and lost money as a result of Defendant’s conduct of
   25 improperly describing Wesson Oils as “natural.” Plaintiff paid for a 100% natural
   26 product but did not receive a product that was 100% natural. Plaintiff received a
   27
   28
        CLASS ACTION COMPLAINT                     - 13 -    CASE NO.:
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    1 product that was genetically engineered in a laboratory, and had its genetic code
    2 artificially altered to exhibit qualities that are not natural.
    3          62.    Plaintiff requests that this Court enjoin Defendant from continuing to
    4 employ the unlawful methods, acts, and practices alleged herein pursuant to
    5 California Civil Code § 1780(a)(2). If Defendant is not restrained from engaging
    6 in these types of practices in the future, Plaintiff and the Class will continue to
    7 suffer harm.
    8                                       COUNT IV
                                    Breach of Express Warranty
    9
               63.    Plaintiff incorporates the above allegations by reference as though
   10
        fully set forth herein.
   11
               64.    Plaintiff brings this claim individually and on behalf of the Class.
   12
               65.    Plaintiff, and each member of the Class, formed a contract with
   13
        Defendant at the time Plaintiff and the other Class Members purchased Wesson
   14
        Oils. The terms of that contract include the promises and affirmations of fact made
   15
        by Defendant on Wesson Oils’ packaging and through marketing and advertising,
   16
        as described above. This marketing and advertising constitute express warranties
   17
        and became part of the basis of the bargain, and are part of the standardized
   18
        contract between Plaintiff and the members of the Class and Defendant.
   19
               66.    Defendant purports through its advertising to create express
   20
        warranties of Wesson Oils as natural by making the affirmation of fact, and
   21
        promising, that Wesson Oils are “100% Natural.”
   22
               67.    All conditions precedent to Defendant’s liability under this contract
   23
        have been performed by Plaintiff and the Class, when they purchased the product
   24
        and used it as directed.
   25
               68.    Despite express warranties about the “100% natural” nature of
   26
        Wesson Oils, Wesson Oils are composed of GMOs and are, in fact, not as they are
   27
        found in nature.
   28
        CLASS ACTION COMPLAINT                        - 14 -     CASE NO.:
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    1         69.    Defendant breached express warranties about Wesson Oils and their
    2 qualities, because the product does not conform to Defendant’s affirmations and
    3 promises to be natural and provide such benefits described above.
    4         70.    As a result of Defendant’s breach of express warranty, Plaintiff and
    5 the Class were harmed in the amount of the purchase price of Wesson Oils.
    6                                PRAYER FOR RELIEF
    7         WHEREFORE, Plaintiff, on behalf of himself and all others similarly
    8 situated, pray for judgment against Defendant as follows:
    9         A.     An order certifying this case as a class action and appointing Plaintiff
   10 and his counsel to represent the Class Members;
   11         B.     An order declaring that the acts and practices of Defendant constitute
   12 violations of California Business & Professions Code § 17500 and § 17200 et seq.,
   13 and California Civil Code § 1750 et seq., and constitute breaches of express
   14 warranties;
   15         C.     For damages pursuant to California law in an amount to be
   16 determined at trial, including interest, except as to the CLRA claim, which seeks
   17 only injunctive relief;
   18         D.     For restitution for monies wrongfully obtained and/or disgorgement of
   19 ill-gotten revenues and/or profits;
   20         E.     A permanent injunction enjoining Defendant from continuing to harm
   21 Plaintiff and the members of the Class and violating California law;
   22         F.     An order requiring Defendant to adopt and enforce a policy that
   23 requires appropriate disclosure of GM ingredients and/or removal of misleading
   24 natural claims, which complies with California law;
   25         G.     Reasonable attorneys’ fees and the costs of the suit; and
   26         H.     Such other relief as this Court may deem just and proper.
   27
   28
        CLASS ACTION COMPLAINT                      - 15 -    CASE NO.:
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                       EXHIBIT A
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Canola
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                                                                                                                      Good for your Heart
                                                                                                                      Pure Wesson 100% Natural Canola Oil is the most
                                                                                                                      versatile type of vegetable oil and it provides the best




                                                                                                                                                                                 - 17 -
                                                                                                                      nutritional balance of all popular cooking oils.
                                                                                                                      Wesson Canola's light, delicate taste makes it the
                                                                                                                      perfect oil to be used in every recipe that calls for
                                                                                                                      vegetable oil.
                                                                                                                      • Pure Wesson 100 percent Natural Canola Oil is
                                                                                                                      good for your heart.
                                                                                                                      • Wesson’s canola oil has the same health benefits as
                                                                                                    Citrus Stir Fry
                                                                                                                      olive oil without the strong taste allowing for the
                                                                                                                      food’s taste to come through in cooking.
                                                                                                                      • Canola oil provides a source for healthy fat
                                                                                                                      (monounsaturated fat) that is essential for everydiet.
                                                                                                                      • According to the U.S. Food & Drug Administration
                                                                                                                      (USDA), Wesson Canola Oil now comes with a
                                                                                                                      qualified health claim on its ability to reduce the
                                                                                                                      risk of coronary heart disease (CHD) due to its
                                                                                                                      unsaturated fat content.
                                                                                                                      • Available in 24oz, 48oz, 64oz and 1 gal sizes in
                                                                                                                      retail outlets - grocery, club and convenience stores
                             http://www.wessonoil.com/canola_oil.jsp (1 of 2)6/27/2011 3:06:57 PM
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Canola
                                                                                                    Usage Tips:                           • Also available in 5QT (160oz) jugs in the club
                                                                                                                                          channel
                                                                                                    • Stir Frying - Perfect for
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                                                                                                    sautéing fresh vegetables and
                                                                                                    lean meats
                                                                                                    • Marinades & Vinaigrettes
                                                                                                    - Allows spices and herbs to
                                                                                                    shine through
                                                                                                    • Baking - Substitute for
                                                                                                    melted butter, margarine or
                                                                                                    shortening




                                                                                                                                                                                             - 18 -
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                             http://www.wessonoil.com/canola_oil.jsp (2 of 2)6/27/2011 3:06:57 PM
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                       EXHIBIT B
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Vegetable
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                                                                                                                              A great, versatile all-purpose oil
                                                                                                                              Pure Wesson 100% Natural Oil is the perfect all-
                                                                                                                              purpose cooking and baking vegetable oil.




                                                                                                                                                                                      - 19 -
                                                                                                                              Wesson Vegetable Oil can be used for baking or frying
                                                                                                                              and has a light taste that lets your cooking flavors
                                                                                                                              shine through.
                                                                                                                              • Available in 16oz, 24oz, 48oz, 64oz and 1 gal sizes
                                                                                                                              in retail outlets – grocery, club and convenience stores
                                                                                                                              • Also available in 5QT (160oz) jugs in the club
                                                                                                                              channel
                                                                                                       Crispy Fried Chicken
                             http://www.wessonoil.com/vegetable_oil.jsp (1 of 2)6/27/2011 3:09:08 PM
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Vegetable
                                                                                                       Usage Tips:
                                                                                                       • Baking - Substitute for
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                                                                                                       melted butter, margarine or
                                                                                                       shortening
                                                                                                       • Frying - Perfect for pan
                                                                                                       frying
                                                                                                       • Sauteing - Chicken, meats,
                                                                                                       fish and vegetables




                                                                                                                                                      - 20 -
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                             http://www.wessonoil.com/vegetable_oil.jsp (2 of 2)6/27/2011 3:09:08 PM
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                       EXHIBIT C
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Corn
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                                                                                                                       The ideal oil for crisp tender fried foods
                                                                                                                       Pure Wesson 100% Natural Corn Oil is the best oil
                                                                                                                       to ensure a cripsy coating on your fried foods while




                                                                                                                                                                                 - 21 -
                                                                                                                       retaining moistness on the inside.
                                                                                                                       Wesson Corn Oil brings out a natural rich flavor in
                                                                                                                       fried foods and in flavorful ethnic dishes.
                                                                                                                       • Available in 48oz and 1 gal sizes in retail outlets –
                                                                                                                       grocery and convenience stores
                                                                                                  Mexican Quesadilla
                             http://www.wessonoil.com/corn_oil.jsp (1 of 2)6/27/2011 3:10:43 PM
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Corn
                                                                                                  Usage Tips:
                                                                                                  • Deep Frying - Chicken,
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                                                                                                  French fries, fried fish, fried
                                                                                                  appetizers
                                                                                                  • Ethnic Foods - Mexican and
                                                                                                  Southwestern foods
                                                                                                  • Baking - Substitute for
                                                                                                  melted butter, margarine or
                                                                                                  shortening




                                                                                                                                                   - 22 -
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                             http://www.wessonoil.com/corn_oil.jsp (2 of 2)6/27/2011 3:10:43 PM
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                       EXHIBIT D
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Best Blend
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                                                                                                                             A great oil for frying with the added benefits of
                                                                                                                             Canola oil
                                                                                                                             Pure Wesson 100% Natural Best Blend Oil is highly




                                                                                                                                                                                       - 23 -
                                                                                                                             versatile.
                                                                                                                             Wesson Best Blend Oil is a perfect combination of two
                                                                                                                             great oils that makes it just right for everything from
                                                                                                                             grilling and frying to salad dressings.
                                                                                                                             • Available in 48oz in retail outlets – grocery and
                                                                                                                             convenience stores
                                                                                                    Spring Greens with
                                                                                                    Crispy Chicken Tenders
                             http://www.wessonoil.com/best_blend.jsp (1 of 2)6/27/2011 3:11:56 PM
                             Wesson | Pure, 100% All Natural Oils - The Four Oils - Best Blend
                                                                                                    Usage Tips:
                                                                                                    • Grilling, Broiling and Frying
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                                                                                                    • Marinades and Dressings
                                                                                                    - Allows spices and herbs to
                                                                                                    shine through
                                                                                                    • Baking - Substitute for
                                                                                                    melted butter, margarine or
                                                                                                    shortening




                                                                                                                                                  - 24 -
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                             http://www.wessonoil.com/best_blend.jsp (2 of 2)6/27/2011 3:11:56 PM
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                       EXHIBIT E
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